Case 3:19-cv-00366-JPG-MAB Document 2 Filed 04/01/19 Page 1 of 7 Page ID #3




                                                        19-366
Case 3:19-cv-00366-JPG-MAB Document 2 Filed 04/01/19 Page 2 of 7 Page ID #4
Case 3:19-cv-00366-JPG-MAB Document 2 Filed 04/01/19 Page 3 of 7 Page ID #5
Case 3:19-cv-00366-JPG-MAB Document 2 Filed 04/01/19 Page 4 of 7 Page ID #6
Case 3:19-cv-00366-JPG-MAB Document 2 Filed 04/01/19 Page 5 of 7 Page ID #7
Case 3:19-cv-00366-JPG-MAB Document 2 Filed 04/01/19 Page 6 of 7 Page ID #8
Case 3:19-cv-00366-JPG-MAB Document 2 Filed 04/01/19 Page 7 of 7 Page ID #9
